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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                (NORTHERN DIVISION)

KRISTINA MUELLER, et al.

                Plaintiffs,

v.                                                     Civil Action No: 1:17-cv-01638-ELH

CHESAPEAKE BAY SEAFOOD HOUSE
ASSOCIATES, LLC

                Defendant.

         RESPONSE TO DEFENDANT’S OPPOSITION TO PLAINTIFFS’
     MOTION FOR ADDITIONAL COURT-AUTHORIZED NOTICE OF LAWSUIT

        Plaintiffs Kristina Mueller and Jill Mueller (hereinafter, “Plaintiffs”), by and through their

undersigned counsel and the Law Offices of Peter T. Nicholl, hereby respond to Defendant

Chesapeake Bay Seafood House Associates, LLC’s (hereinafter “Defendant”) Opposition to

Plaintiffs’ Motion for Additional Court-Authorized Notice of Lawsuit and in support thereof, state

as follows:

                                         I.      ARGUMENT

     A.   All Notices were Sent to the Addresses Originally Provided by Defendant

        On September 22, 2017, this Court approved the Parties’ joint stipulation (“stipulation”)

regarding conditional certification. [ECF Doc. No. 12]. Pursuant to the stipulation, Defendant

provided Plaintiffs with the names and addresses of the two thousand eight hundred and four

(2,804) potential class members. The court-authorized notices were sent to all of the addresses

provided by Defendant. In order to verify the accuracy of the addresses, Plaintiffs also submitted

the class list to Strategic Factory, a local business solutions company. Strategic Factory has access

to the national address change database, which enables it to detect invalid addresses.




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       Plaintiffs subsequently began to receive a substantial number of notices and opt-in forms

(collectively, referred to as “mailings”) that were returned as undeliverable. To keep track of the

returned mailings, Plaintiffs created a spreadsheet that contained the name and address for the

person whose mail had been returned. In compiling the spreadsheet, a technical error occurred; the

names and addresses of a few persons unrelated to this lawsuit were keyed into the spreadsheet.

Plaintiff quickly recognized this error and notified Defendant. A revised and accurate spreadsheet

was immediately sent to Defendant.

       Some of the addresses recorded on the spreadsheet were also generated by Strategic

Factory, not Defendant. Because a few of these addresses are different from the ones Defendant

disclosed, Defendant believes this indicates that not all notices were sent to the addresses that it

provided. Defendant is clearly mistaken. All the notices were sent to the addresses Defendant

originally provided. Only after a mailing was returned undeliverable did Plaintiffs use the address

given by Strategic Factory. This fact eliminates Defendant’s argument that not all notices were

sent to the addresses it provided. There is no need for any further discussion regarding this fact.

  B.   Defendant Simply Does Not Want to Accept that Many Class Members Failed to Receive
       Notice

       Defendant repeatedly attempts to minimize the significance regarding many potential class

members not receiving notice. See Defendant’s Opposition to Plaintiffs’ Motion for Additional

Court-Authorized Notice of Lawsuit (hereinafter, “Def.’s Opp.”) at 2. [ECF Doc. No. 128].

Defendant claims that by stipulating, the Parties have bound themselves to the current notice

procedures. Id. at 3. Defendant’s claim is problematic.

       By simply focusing on the terms of the stipulation, Defendant ignores the negative impact

that insufficient notice has on potential class members. Fair Labor Standards Act (hereinafter,

“FLSA”) collective actions are unique. Bouthner v. Cleveland, 2012 WL 738578 at *3 (D. Md.



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Mar. 5, 2012). The combination of the opt-in requirement and the prohibition against the tolling

of the statute of limitations puts potential class members at substantial risk of losing their rights if

they fail to receive notice. See Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 170 (1989).

        In light of these concerns, district courts have the broad discretion to manage FLSA notice

procedures. Billingsley v. Citi Trends, Inc., 560 Fed.Appx. 914, 921 (11th Cir. 2014). The fact that

the Parties stipulated to conditional certification does not alter this Courts’ discretion. Plaintiffs’

counsel also have an obligation to ensure accurate and timely notice. Parilla v. Allcom Cosnt. &

Installation Services, LLC, 688 F.Supp. 2d 1347, 1351 (M.D. Fla. 2010). Counsel are merely

seeking to meet their obligation and asking this Court to help.

        Defendant also claims that a “handful” of potential class members not receiving notice is

insignificant. Def.’s Opp. at 8. Defendant’s assertion that only a “mere handful” of potential class

members failed to receive notice distorts the facts presented by Plaintiffs. See Plaintiffs’

Memorandum in Support of Their Motion for Additional Court-Authorized Notice of Lawsuit

(hereinafter, “Pls.’ Memo.”) at 2 [ECF Doc. No. 110-1]. Plaintiffs were notified by one individual,

who only worked at one of Defendant’s restaurants, that many of her colleagues did not receive

class notice. Id. at 2. Plaintiffs were subsequently contacted by these individuals, which led to the

filing of their declarations. Id. The fact that these individuals did not receive notice suggests that

there are also numerous other individuals who worked at other restaurants that failed to receive

notice. Id. Defendant’s claim that only a “mere handful” of persons did not receive notice ignores

this possibility. It can be readily inferred that there is likely a much larger pool of persons who

similarly did not receive notice. It is also likely that these persons were never informed of the

lawsuit by a former co-worker. Given this likelihood, additional notice is needed. The remedial

purpose of the FLSA only strengthens this need.




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  C.   Defendant Cannot Simply Minimize the Negative Impact of Distributing the Arbitration
       Agreements

       Defendant cannot simply downplay the harm caused by its decision to distribute arbitration

agreements (“agreements”) during this litigation. Defendant concedes that it disseminated

arbitration agreements to five hundred and seventy-three (573) potential class members. Def.’s

Opp. at 5. Defendant further concedes that the agreements were disseminated two (2) months after

the instant lawsuit was filed. Id. Defendant attempts to minimize the chilling effect of this conduct.

Defendant repeatedly claims that the number of individuals who received the agreements

constitutes only a “small portion” of the potential class. Id. at 5, 8, 11. Defendant is obviously

mistaken. Five hundred and seventy-three (573) potential class members constitutes a significant

figure. One (1) out of every five (5) potential class members were given the agreement. This is

roughly twenty percent (20%). Thus, a large portion of the class could have potentially been

affected by Defendant’s deterring conduct.

       Defendant further contends that there was nothing regarding the dissemination of the

agreements that was improper. Defendant relies on the language within each agreement, which

states that signing the agreement would not prohibit potential class members from participating in

this lawsuit. Id. at 5. Because of this language, Defendant claims that it is not plausible for the

dissemination of the agreements to have chilled class participation. Id. Defendant’s claims are

erroneous. Defendant blatantly ignores the legal authorities. Courts have repeatedly warned against

any type of conduct that is likely to have chilled class participation. Hernandez v. Colonial

Grocers, Inc., 124 So. 3d. 408, 410 (D. Ct. App. Fla. Oct. 25, 2013). Although the conduct may

have been legally permissible, it could still have a chilling effect. Id.

       Plaintiffs have not alleged that the arbitration agreements did in fact prevent participating

in the lawsuit. However, the timing of their dissemination is concerning. Since the agreements



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were disseminated two (2) months after the collective Complaint was filed, Defendant knew that

the persons receiving the agreements were likely to receive class notice in the future. Pls.’ Memo.

at 5. Therefore, Defendant had a responsibility to inform its employees of the impact the agreement

would have on the present lawsuit. However, Defendant failed to explain how signing the

arbitration agreement would affect the instant litigation. Id. at 6. Defendant’s failure to do so led

potential class members to be confused. Id. Once they received the court-authorized notice, they

were confused as to whether their signing of the agreement would prevent them from joining this

matter. Id. at 7. Such confusion is synonymous with a chilling effect. Wright v. Adventures Rolling

Cross Country, Inc., 2012 WL 2239797 at *5-6 (N.D. Cal. June 15, 2012). Such an effect must be

corrected. Id.

       Courts have routinely taken corrective measures to reverse the effects of the improper

dissemination of arbitration agreements. Plaintiffs’ Memorandum lists these authorities. See

Williams v. Securitas Security Services USA, Inc., 2011 WL 2713818 at *1 (E.D. Pa. Jul. 13, 2011);

Ojeda-Sanchez v. Bland Farms, 600 F.Supp. 2d 1373, 1379 (S.D. Ga. 2009); Maddox v.

Knowledge Learning Corp., 499 F.Supp. 2d 1338, 1342 (N.D. Ga. Aug. 2007). Defendant does

not dispute these authorities, but deems them inapplicable. Def.’s Opp. at 9. This is based on the

fact that the plaintiffs in the cases cited sought a different form of relief. Id. However, the form of

relief sought does not alter the holdings that resulted from each court’s analysis. Pls.’ Memo. at 7.

The courts took corrective action based on finding the employers’ conduct to be improper. Like

the employers in those cases, Defendant’s conduct was also improper. Defendant was well aware

of the chilling effect that could result from disseminating the arbitration agreements while class




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motions were pending.1 This Court should take corrective measures to alleviate this effect. The

harm resulting from Defendant’s conduct must be addressed.

    D.   Defendant’s Attempt to Limit the Scope of Additional Notice Procedures Should be
         Rejected

         Defendant suggests that if this Court should rule in Plaintiffs’ favor, additional notice

should only be sent “to the 406 individuals whose mail was returned as undelivered.” Def.’s Opp.

at 8. Defendant attempts to justify its position by claiming that these four hundred and six (406)

potential class members are the only persons “known to have not received notice.” Id. at 8.

Defendant’s claims are flawed.

         Defendant’s suggestion that only four hundred and six (406) persons failed to receive

notice is simply incorrect. Defendant ignores the issues raised by Plaintiffs. Plaintiffs have made

clear that they have been in contact with (7) persons who failed to receive notice and that these

persons were not included on the list of individuals whose mailings were returned. Pls.’ Memo. at

5. These facts substantiate Plaintiffs’ argument; they create the credible suspicion that many other

potential class members have failed to receive notice. Based on these facts, additional notice

should be sent to all persons who have yet to join this lawsuit. Steps must be taken to ensure that

all are given notice of their rights.

         Defendant further suggests that “any email notification should be limited to providing the

same notice that was mailed […] [and that] no other communication should be permitted.” Def.’s

Opp. at 8. Defendant’s request for there to be no other communications has no merit. Defendant's



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  This is not the first time Defendant’s Counsel disseminated arbitration agreements to prospective class members
after receiving a complaint with collective counts. Defendant’s Counsel represented defendant in Billingsley v. Citi
Trends, Inc. Defendant’s Counsel issued arbitration agreements during litigation with the intent to chill collective
action participation. The plaintiff in Billingsley filed a motion for corrective action seeking notice that clearly indicated
that employees would be able to join suit even if they had signed an arbitration agreement. Citing the “broad authority”
of district courts to manage collective actions, the Eleventh Circuit found that the district court acted properly in
correcting “the effect of Citi Trend’s misconduct.” Id. at 922.


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request ignores Plaintiffs’ concerns regarding the dissemination of the arbitration agreements.

Additional language is needed in the notice to alleviate these concerns. It must be made clear to

all potential class members that the signing of an arbitration agreement does not preclude them

from participating in this lawsuit. Defendant fails to make any argument as to why this language

should not be included. This is because there is no justifiable argument that Defendant can make.

All Defendant can do is attempt to justify its chilling conduct.

       If no corrective measures are taken, Defendant will succeed in its attempt to chill class

participation. If this Court fails to intervene, permanent damage will result. Potential class

members will never be properly informed of their rights. They will never know that they could

have still participated in this lawsuit. Their opportunity to seek legal remedies will become

dormant. Their inability to vindicate their claims will be everlasting.

                                       II.     CONCLUSION

       For all these reasons, additional notice procedures are required. Thus, Plaintiffs

respectfully request that this Court grant their Motion for Additional Court-Authorized Notice.


                                                      Respectfully submitted,

                                                      /s/ Benjamin L. Davis,III
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